        Case 22-12742-pmm                       Doc      Filed 11/12/24 Entered 11/12/24 08:24:47                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 4
 Debtor 1              Amarilys Garcia
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern District      of __________
                                                          of Pennsylvania
                                                      District

 Case number             22-12742
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Truist Bank
 Name of creditor: _______________________________________                                                        10
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           8 ____
                                                         ____ 2 ____
                                                                  6 ____
                                                                      5              Must be at least 21 days after date       12/01/2024
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                              1,071.26
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    320.09
                   Current escrow payment: $ _______________                       New escrow payment:                   408.25
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔ No
      
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔ No
      
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                             page 1
      Case 22-12742-pmm                              Doc          Filed 11/12/24 Entered 11/12/24 08:24:47                           Desc Main
                                                                  Document      Page 2 of 4

Debtor 1         Amarilys    Garcia
                 _______________________________________________________                                            22-12742
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
     ✔ I am the creditor’s authorized agent.
     


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.
                                Digitally signed by /s/ Marlo Light
                                DN: cn=/s/ Marlo Light, o=Truist Bank,
           /s/ Marlo Light      ou=Bankruptcy,

 8   Signature
                                email=marlo.light@truist.com, c=US
     _____________________________________________________________
                                Date: 2024.11.12 08:22:29 -05'00'                              Date    11/12/2024
                                                                                                       ___________________




 Print:             Marlo                               Light
                    _________________________________________________________                  Title   Bankruptcy   Processor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Truist Bank
                    _________________________________________________________



 Address            %DQNUXSWF\'HSDUWPHQW32%R[
                    _________________________________________________________
                    Number                 Street

                    5LFKPRQG                         9$       
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone       
                    ________________________                                                          0RUWJDJH%DQNUXSWF\#7UXLVWFRP
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
Case 22-12742-pmm              Doc             Filed 11/12/24 Entered 11/12/24 08:24:47              Desc Main
                                               Document      Page 3 of 4




                                              CERTIFICATE OF SERVICE




  I, ___0DUOR/LJKW__BBBBBBBBB___________, do hereby certify that a true and exact copy of the
              Notice of Mortgage Payment Change
  foregoing _____________________________       ZDVVHUYHGE\8QLWHG6WDWHVPDLODQGRUHOHFWURQLF
             11/12/2024
  ILOLQJRQDGGUHVVHGDVIROORZV



  'HEWRU                                                                               'HEWRU V$WW\
  Amarilys Garcia                                                                       MICHAEL A. CIBIK
  6356 Jackson Street                                                                    Cibik Law, P.C.
  Philadelphia, PA 19135                                                                 1500 Walnut Street
                                                                                         Suite 900
                                                                                         Philadelphia, PA 19102




   7UXVWHH
  KENNETH E WEST
  1234 MARKET ST STE 1813
  PHILADELPHIA, PA 19107-3704




                                Digitally signed by /s/ Marlo Light

/s/ Marlo Light                 DN: cn=/s/ Marlo Light, o=Truist Bank, ou=Bankruptcy,
                                email=marlo.light@truist.com, c=US
                                Date: 2024.11.12 08:22:12 -05'00'




  %DQNUXSWF\3URFHVVRUIRU7UXLVW%DQN
                                                                                                      Page 1 of 1
   Case 22-12742-pmm      Doc       Filed 11/12/24 Entered 11/12/24 08:24:47                       Desc Main
                                    Document      Page 4 of 4

                               Payment Change Maintenance (PCH2/HPMT)
                                         12/01/24 PAYMENT CHANGE MAINTENANCE 11/05/24 14:45:27
                 S GARCIA     1ST PMT 09/01/14 INV T07/101 TYPE CONV. RES.               MAN B
                 A GARCIA     CUR PMT 12/01/24 PB     103,907.13    IR 4.50000           GRP SMC
                -- History of Payments ---------------------------------------------------------
                 PMT DT     12/01/23           12/01/24           12/01/26
                     IR                         4.50000            4.50000
                    P&I                          663.01             663.01
                 COUNTY         0.00               0.00               0.00
                   CITY       236.92             236.92             236.92
                 HAZARD        83.17             171.33             171.33
                     MI         0.00               0.00               0.00
                   LIEN         0.00               0.00               0.00
                     OS         0.00               0.00               0.00
                   MISC                            0.00               0.00

                    A&H                            0.00               0.00
                   LIFE                            0.00               0.00
                   REPL                            0.00               0.00
                    HUD                            0.00               0.00
                  2 P&I                            0.00               0.00
                    NET                        1,071.26           1,071.26
                 PAYMNT
                 CHANGE
                 REASON




about:blank                                                                                             11/6/2024
